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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


In re Terrorist Attacks on September 11, 2001      03 MDL 1570 (GBD)(SN)


This document relates to:
Lloyd A. Abel Sr., et al. v. Islamic Republic of Iran, No. 1:18-cv-11837 (GBD) (SN)
BNY Mellon, et al. v. Islamic Republic of Iran, No. 1:19-cv-11767 (GBD) (SN)
Deborah Bodner, et al. v. Islamic Republic of Iran, No. 1:19-cv-11776 (GBD) (SN)
Ber Barry Aron, et al. v. Islamic Republic of Iran, No. 1:20-cv-09376 (GBD) (SN)

     [PROPOSED] ORDER OF FINAL JUDGMENTS AS TO LIABILITY AND FOR
             PARTIAL FINAL DAMAGES JUDGMENTS AGAINST THE
           ISLAMIC REPUBLIC OF IRAN FOR NON-U.S. NATIONALS

        Upon consideration of the default judgment motion cover sheet attached as Exhibit A as

required by the Court’s September 22, 2023 Order at ECF No. 9355 and the other evidence and

arguments submitted by non-U.S. National Plaintiffs in the above-captioned matters as

specifically identified in Exhibit B and Exhibit C (the plaintiffs in Exhibit B and Exhibit C are

the “Moving Plaintiffs”), together with the entire record in the case, IT IS HEREBY

        ORDERED that, for the Moving Plaintiffs, service of process in the above-captioned

matters was effected upon Defendant Islamic Republic of Iran (“Iran”) in accordance with 28

U.S.C. § 1608(a) for sovereign defendants; and it is further

        ORDERED that the Court has subject-matter jurisdiction over the common law claims of

the Moving Plaintiffs, pursuant to 28 U.S.C. § 1605B; and it is further

        ORDERED that, for the Moving Plaintiffs, the Court has subject-matter jurisdiction over

Iran under the common law for actions arising out of wrongful death and intentional infliction of

emotional distress based on the intentional acts of international terrorism perpetrated on

September 11, 2001 that intentionally targeted innocent civilians resulting in death and

significant grief sustained by family members of those killed in the attacks; and it is further

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        ORDERED that Iran judgments as to liability are entered for the Moving Plaintiffs for

their common law claims; and it is further

        ORDERED that, for the Moving Plaintiffs, Iran is found to be jointly and severally liable

with the Taliban and that the Moving Plaintiffs are awarded damages judgments in the same

amounts previously awarded by this Court to various similarly situated plaintiffs in Burnett,

Havlish, Ashton, Bauer, O’Neill, and other cases; and it is further

        ORDERED that Moving Plaintiffs identified in the attached Exhibit B are awarded

intentional infliction of emotional distress (solatium) damages of $12,500,000 per spouse,

$8,500,000 per parent, $8,500,000 per child, and $4,250,000 per sibling, as set forth in the

attached Exhibit B; and it is further

        ORDERED that, on behalf of the Moving Plaintiffs, the estates of the 9/11 decedents,

through the personal representatives and on behalf of all survivors and all legally entitled

beneficiaries and family members of such 9/11 decedents, as set forth in Exhibit C, are awarded

compensatory damages for pain and suffering in the same per estate amount previously awarded

by this Court regarding other estates of decedents killed in the September 11th attacks, as set

forth in Exhibit C; and it is further

        ORDERED that the Moving Plaintiffs identified in the attached Exhibit C are awarded

compensatory damages for decedents’ pain and suffering in the amount of $2,000,000 per estate,

as set forth in the attached Exhibit C; and it is further

        ORDERED that, on behalf of the Moving Plaintiffs, the estates of the 9/11 decedents,

through their personal representatives and on behalf of all survivors and all legally entitled

beneficiaries and family members of such 9/11 decedents, as identified in Exhibit C, are awarded

economic damages in the amounts as set forth in Exhibit C; and it is further



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         ORDERED that the Moving Plaintiffs are awarded prejudgment interest at the rate of

4.96 percent per annum, compounded annually for the period from September 11, 2001 until the

date of the judgment for damages; and it is further

         ORDERED that the Moving Plaintiffs may apply for punitive damages, economic

damages, and other appropriate damages, at a later date; and it is further

         ORDERED that, all other Plaintiffs in the above-captioned matters not appearing in the

attached Exhibit B and Exhibit C may submit applications for damages awards in later stages, to

the extent such awards have not previously been addressed.

         Furthermore, the Court respectfully directs the Clerk of the Court to terminate the motion

at ECF No. 9954.

                                                SO ORDERED:



                                                GEORGE B. DANIELS
                                                United States District Judge
Dated:    New York, New York
          _____________, 2024




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